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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

EMILIO GUTIERREZ-SOTO and
OSCAR GUTIERREZ-SOTO,

Petitioners,
v.
EP-18-CV-00071-DCG
JEFFERSON SESSIONS III, in his ojj€cial
capacity as Attorney General of the United
States; KIRSTJEN NIELSEN, in her
ojj'z`cial capacity as Secretary of U.S.
Department of Homeland Security,'
THOMAS HOMAN, in his official capacity
as Direclor of U.S. Immigrations and
Customs Enforcement,' WILLIAM JOYCE,
in his ojl`cial capacity as Acting El Paso
Field O_H‘ice Directorfor U.S. Immigration
and Customs Enforcement; and UNITED
STATES DEPARTMENT OF
HOMELAND SECURITY,

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Respondents.
ORDER DENYING MOTION TO CONTINUE
Presently before the Court is Respondents’ “Opposed Motion for Extension of Tirne”

(ECF No. 40) filed on July 16, 2018. Therein, Respondents request that the Court continue the
evidentiary hearing currently scheduled for August 1, 2018, until August 13, 2018, hecause
Respondent William P. Joyce (“Mr. Joyce”) is on leave out of the state and the sole caretaker for
his child. Mot. at 2. The Court is sympathetic to Mr. Joyce’s circumstances, but the Court also
agrees with Petitioners that time is of the essence. Therefore, if Mr. Joyce cannot make it to El
Paso for the evidentiary hearing, the Court will permit him to testify by video at the nearest

federal courthouse in New York on the date of the hearing.

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Accordingly, IT IS ORDERED that Respondents’ “Opposed Motion for Extension of

Time” (ECF No. 40) is DENIED.

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SO ORDERED and SIGNED this l day Of Jllly 2018.

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DAV'[D C. GUA!DERRAMA
UNITED sTATES DISTRICT JUDGE

